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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                             CASE NO.: 3:09-cr-51-J-34MCR

 ALEX LEE CAMPBELL,

               Defendant.



  Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction
          Under 18 U.S.C. § 3582(c)(2) Based on USSG Amend. 782

        Before the Court is Defendant’s Unopposed Motion for Sentence Reduction Under

 Amendment 782 (Doc. No. 451; Motion) filed on January 22, 2016. In the Motion,

 Defendant seeks to reduce his prison term under 18 U.S.C. § 3582(c)(2) based on

 Amendment 782 to the United States Sentencing Guidelines (USSG), a retroactive

 guideline amendment, see USSG §1B1.10(d) (2014). See Motion at 1. The United States

 does not oppose a reduction. See id. at 2. The parties agree that Defendant is eligible

 for a guideline reduction because Amendment 782 reduces the applicable guideline

 range, see USSG §1B1.10(a)(1). See id. The Court determines that Defendant is eligible

 for a guideline reduction, and adopts the amended guideline calculations agreed upon by

 the parties in the Motion.

        The Court has reviewed the facts in both the original presentence investigation

 report and the December 9, 2015 memorandum from the United States Probation Office.

 Having considered the factors set forth in 18 U.S.C. § 3553(a), as well as the nature and

 seriousness of any danger posed by a reduction of Defendant’s sentence, see USSG
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 §1B1.10, comment (n.1(B)(ii)), the Court finds that a reduction of Defendant’s sentence

 from 135 months to 121 months as to Counts One and Two to run concurrently and to

 run consecutively to the previously imposed sentence of 60 months as to Count Four, is

 warranted.

         Accordingly, it is hereby

         ORDERED:

         1. Defendant’s Unopposed Motion for Sentence Reduction Under
            Amendment 782 (Doc. No. 451) is GRANTED.

         2. The Court reduces Defendant’s sentence from a period of imprisonment
            of 135 months to a period of 121 months as to Counts One and Two to
            run concurrently and to run consecutively to the previously imposed
            sentence of 60 months as to Count Four, or time served, whichever is
            greater. See USSG §1B1.10(b)(2)(C).

         3. All other provisions set forth in the Amended Judgment shall remain in
            full force and effect.

         DONE AND ORDERED in Jacksonville, Florida, this 29th day of January,
 2016.




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 Copies to:

 Counsel of Record

 United States Marshals Service

 United States Probation Office

 Bureau of Prisons
